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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GREAT AMERICAN INSURANCE COMPANY, )
                                   )
      Plaintiff,                   )
                                   )
v.                                 )                        Case No. 20 CV 5705
                                   )                        Judge Joan B. Gottschall
WCP SOLAR SERVICES, LLC,           )
DR. EVERTON WALTERS, individually, )
AL BUSANO, individually,           )
and ASSAD BAJWA, individually,     )


                                 (PROPOSED) JUDGMENT

       This matter is before the court on plaintiff Great American Insurance Company’s Motion

[122] to enforce a settlement and enter judgment against defendants WCP Solar Services, LLC

and Everton Walters, and the defendants having failed to respond. Upon consideration of the

affidavit of Prithvi Bhaskar dated April 28, 2025 and supporting exhibits, the Motion is Granted.

       Judgment is hereby entered in favor of Plaintiff Great American Insurance Company and

against the Defendants:

       1) WCP Solar Service, LLC in the amount of $107,205.00; and

       2) against Dr. Everton Walters in the amount of $56,205.00.



Dated: ___________                                  ENTER:

                                                    ___________________________
                                                    Hon. Joan B. Gottschall
                                                    U.S. Dist. Court Judge
